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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

STUART MEISSNER, and STACEY
MEISSNER

                                   Plaintiffs,

        v.                                                    5:20-CV-839
                                                               (TJM/ATB)


SYRACUSE UNIVERSITY,

                           Defendants.
_________________________________________

THOMAS J. McAVOY,
Sr. U. S. District Judge

                                    DECISION & ORDER

        Before the Court is Defendant’s motion to dismiss Plaintiffs’ Amended Complaint.

See dkt. # 30. The parties have briefed the issues and the Court has determined to

resolve the matter without oral argument.

I.      BACKGROUND

        This case involves Plaintiffs’ claims regarding Defendant Syracuse University’s

March 2020 decision to move to on-line learning in the face of the COVID-19 pandemic.

Plaintiffs claim that this decision deprived their daughter, who was a Syracuse student at

the time, of the in-person, on-campus college experience that the University promised her

when she decided to attend the school. Plaintif fs bring the Amended Complaint on their

own behalf and as part of a proposed class action involving students who were likewise

deprived of the educational opportunities they expected because of Syracuse’s decision

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not to hold in-person classes.

       Plaintiffs Stuart Meissner and Stacey Meissner are both citizens of New Jersey.

Amended Complaint (“Complt.”), dkt. # 16, at ¶¶ 15-16. Their daughter was an

undergraduate in her first year at Syracuse during the Spring 2020 semester. Id. at ¶ 17.

Plaintiffs’ daughter sought a bachelor’s degree in nutrition. Id. Plaintiffs paid

approximately $23,105 in tuition for their daughter that semester, in addition to a $384

Health and Wellness Fee and a $100 technology fee. Id. at ¶ 18.

       Plaintiffs and their daughter “consulted” Syracuse’s course catalog before paying

tuition and fees for the 2020 Spring semester. Id. at ¶ 19. The three “understood and

believed that every course in which” the daughter enrolled would be taught in person. Id.

The course catalog specified an on-campus location for the classes and stated that the

“mode of instruction” would be “in-person.” Id. Every class for which Plaintiffs’ daughter

signed up was scheduled for in-person teaching in an on-campus building. Id. at ¶ 20.

       The Spring semester at Syracuse began on January 13, 2020 and was scheduled to

end on April 28, 2020. Id. at ¶ 26. Plaintif fs contend that they paid tuition “for the benefit

of on-campus live instruction and an on-campus educational experience throughout the

entire semester.” Id. at ¶ 32. They also paid “mandatory fees” to obtain “the benefit

throughout the entire semester of on-campus organizations, clubs, recreational education,

crime prevention, and health and wellness services.” Id. at ¶ 33.

       The University announced on March 10, 2020 that, because of the COVID-19

pandemic, only remote classes would be offered until at least March 30, 2020. Id. at ¶ 36.

Syracuse also cancelled all gatherings of 50 or more people. Id. On March 16, 2020, the

University announced that all classes would be remote for the rest of the Spring semester.

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Id. at ¶ 37. Syracuse also closed all on-campus fitness centers, offered only take-out

meals from campus dining centers, and urged students living on campus to move out as

soon as possible. Id. The University also limited access to buildings and facilities on

campus to “essential members of the University faculty and staff.” Id. at ¶ 38. All

instruction since March 13, 2020 has been “in a remote online format with no in-person

instruction or interaction.” Id. at ¶ 39.

       On March 18, 2020, Syracuse announced restrictions on access to student health

services. Id. at ¶ 40. From that date, “all mental health counseling appointments were

being held via telephone.” Id. In addition, the University closed all libraries for the rest of

the semester. Id. The University also canceled most of the services for which students

had paid their mandatory fees, “with only limited virtual events offered moving forward.” Id.

       Faced with a curtailment of their on-campus experience due to the pandemic,

Syracuse students have petitioned the University for a “return of the pro-rated portion” of

their payments to the University for tuition and fees. Id. at ¶ 34. The University has

refused these requests. Id. at ¶ 42. Students contend that the on-line instruction the

University has offered to replace their in-person classes falls far short of their educational

experience they expected when they enrolled at the University, and which Syracuse

promised them in marketing the University. Id. at ¶¶ 43-46. They complain that:

       During the online portion of the semester, the University principally used programs
       by which previously recorded lectures were posted online for students to view on
       their own, or by virtual Zoom meetings. Therefore, there was a lack of classroom
       interaction among teachers and students and among students that is instrumental in
       interpersonal skill development. Further, the online formats being used by Syracuse
       University do not require memorization or the development of strong study skills
       given the absence of any possibility of being called on in class and the ability to
       consult books and other materials when taking exams.


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Id. at ¶ 46. On-line learning also prevents students from learning how to work

collaboratively and prevents “in-person dialogue, feedback, and critique.” Id. at ¶ 47. Not

having an on-campus experience also undermines the development of interpersonal skills

and social networks that a college experience normally cultivates. Id. at ¶ 48.

         Despite these shortcomings, Plaintiffs allege, Syracuse has not refunded any of the

tuition and fees the Plaintiffs paid for the semester. Id. at ¶¶ 49-50.

         Plaintiffs’ Amended Complaint raises five causes of action. Count One alleges

breach of contract. Count Two alleges unjust enrichment. Count Three alleges

conversion. Count Four raises a claim for “money had and received,” contending that

Defendant has kept money paid by the Plaintiffs for instruction that their daughter did not

receive. Count Five alleges a violation of New York General Business Law §§ 349, 350.

II.      LEGAL STANDARD

         A.     Standing

         Defendant first contends that Plaintiffs lack standing to sue in this matter. Courts

may address only actual cases or controversies. See U.S. Const., art. III, § 2. Standing

requires a plaintiff to “allege[] such a personal stake in the outcome of the controversy as

to warrant his invocation of federal-court jurisdiction and to justify exercise of the court’s

remedial powers on his behalf.” Warth v. Seldin, 422 U.S. 490, 498-99 (1975). Article III

standing requires a showing of “(1) an ‘injury in fact,’ (2) a sufficient ‘causal connection

between the injury and the conduct complained of,’ and (3) a likel[ihood]’ that the injury ‘will

be redressed by a favorable decision.’” Susan B. Anthony List v. Driehaus, 134 S. Ct.

2334, 2341 (2014) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 560-61 (1992)). The

injury “must be ‘concrete and particularized’ and ‘actual or imminent, not conjectural or

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hypothetical.’” Id. (quoting Lujan, 504 U.S. at 560).

       B.     Motion to Dismiss

       Defendant has also filed a motion to dismiss Plaintiffs’ claims pursuant to Federal

Rule of Civil Procedure 12(b)(6). Defendant argues that Plaintiffs have not stated a claim

upon which relief could be granted, even if all factual allegations in the complaint were

proved true. In addressing such motions, the Court must accept “all factual allegations in

the complaint as true, and draw[] all reasonable inferences in the plaintiff’s favor.” Holmes

v. Grubman, 568 F.3d 329, 335 (2d Cir. 2009). This tenet does not apply to legal

conclusions. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice.”

Id. at 678. “To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to state a claim to relief that is plausible on its face.” Id. (quoting

Bell Atl. v. Twombly, 550 U.S. 544, 570 (2007)). W hen, as here, the Plaintiff proceeds pro

se, the Court must “‘construe [the complaint] broadly, and interpret [it] to raise the strongest

arguments that [it] suggests.’” Weixel v. Bd. of Educ. of N.Y., 287 F.3d 138, 146 (2d Cir.

2002) (quoting Cruz v. Gomez, 202 F.3d 593, 597 (2d Cir. 2000)).

III.   ANALYSIS

       Defendant first argue that Plaintiffs lack standing to raise their claims that arise in

contract. They next contend that, even if they have standing, they have not stated any

claims upon which relief could be granted. The Court will address only the standing issue,

as that issue is dispositive in this matter.

       Plaintiffs were not students at Syracuse University at the time here in question, but

were instead parents who paid tuition for their daughter to attend that institution.

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Defendant contends that Plaintiffs’ payment of tuition is insufficient to provide them with

standing to raise their claims. As to Plaintiffs’ contract claims, Defendant contends that

Plaintiffs were neither parties nor intended beneficiaries of the contract in question and

they therefore have no standing to raise such claims. As for Plaintiffs’ other claims,

Defendant contends that Plaintiffs have not alleged that they were injured by the

Defendant’s conduct. The injuries that Plaintiffs describe are injuries to students, and

Defendant contends that Plaintiffs lack standing to assert injury on behalf of another.

Plaintiffs respond that they have standing because they have alleged that they paid money

to Syracuse in exchange for their daughter’s in-person education, and they were injured

when their daughter did not receive the education for which they paid.

       Defendant first argues that Plaintiffs lack standing to raise a contract claim. They

contend that Plaintiffs cannot establish an injury in fact because they were not parties to

the contract or intended third-party beneficiaries of the contract. Plaintiffs’ daughter had a

contract with Syracuse. “Under New York law, an implied contract is formed when a

university accepts a student for enrollment[.]” Papelino v. Albany College of Pharm. of

Union Univ., 633 F.3d 81, 93 (2d Cir. 2011). “The terms of such an implied contract are

‘contained in the university’s bulletins, circulars and regulations made available to the

student.’” Id. (quoting Vought v. Teachers Coll., Columbia Univ., 126 A.D.2d 654, 654, 511

N.Y.S.2d 880 (2d Cir. 1987)). She has not sued the Univ ersity for a breach of their

agreement, however. Her parents have. Plaintiffs’ position is that because they paid the

tuition, they formed the contract with Syracuse and have standing to file claims in the

instant action because the University failed to meet their education that the University

would provide in-person instruction to their daughter.

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       The Court finds that Plaintiffs have not alleged that they are a party to the implied

contract that their adult daughter created with Syracuse University to provide her with

college instruction in exchange for tuition dollars. The parents are no more a party to that

agreement because they provided the funds for their daughter’s university instruction than

a bank that lent her the money to go to school would be. Thus, to have any sort of a

contract claim, Plaintiffs would need to establish that they were third party beneficiaries. In

New York, “[a] non-party may sue for breach of contract only if it is an intended, and not a

mere incidental, beneficiary and even then, if not mentioned as a party to the contract, the

parties’ intent to benefit the third party must be apparent from the face of the contract.”

LaSalle Nat’l Bank v. Ernst & Young, LLP, 285 A.D.2d 101, 108 (1 st Dept. 2001) (internal

citations omitted). Without “clear contractual language evincing such intent, New York

courts have demonstrated a reluctance to interpret circumstances to construe such an

intent.” Id. To establish third-party beneficiary rights, a party must show: “‘(1) the

existence of a valid and binding contract between other parties, (2) that the contract was

intended for [its] benefit and (3) that the benefit to [it] is sufficiently immediate, rather than

incidental, to indicate the assumption by the contracting parties of a duty to compensate [it]

if the benefit is lost.’” Town of Huntington v. Long Is. Power Auth., 130 A.D.3d 1013 (2d

Dept. 2015) (quoting Nanomedicon, LLC v. Research Found. of State Univ. of N.Y., 112

A.D.3d 594, 596 (N.Y. 2013)). Plaintiffs have not alleged that they were the intended

beneficiaries of the agreement between their daughter and the University, particularly

because the injuries they allege–the inability to attend in-person classes and participate in

the benefits of life on a college campus–were ones their daughter suffered.

       As such, the Court must find that Plaintiffs lack standing to raise a contract claim.

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Plaintiffs have not alleged that they were a party to the contract or an intended benef iciary

and they therefore have not alleged an injury that is “‘concrete and particularized’ and

‘actual or imminent, not conjectural or hypothetical.’” Susan B. Anthony List, 134 S. Ct. at

2341 (quoting Lujan, 504 U.S. at 560). The person injured in this case is the person who

made the contract. Other courts in this Circuit have also concluded that parents lack

standing in cases where parents seek to recover damages related to their college-age

children being forced to engage in on-line college instruction when, as here, a parent-

plaintiff alleges only that they paid tuition for adult children who could sue for damages on

their own. See, e.g., Espejo v. Cornell Univ., 3:20-CV-467, 2021 U.S. Dist. LEXIS 39227,

at *7 (N.D.N.Y. Mar 3, 2021) (“Here, [the parent’s] standing is based solely on the fact that

he paid tuition for his child. Plaintiffs do not allege that [plaintiff’s] child is a minor, that he

directly contracted with Cornell, or that he is an intended third-party beneficiary. Without

such allegations, [plaintiff] cannot demonstrate injury-in-fact.”) (see also cited collected

cases); Bergeron v. Rochester Inst. of Tech., No. 20-CV-6283, 2020 U.S. Dist. LEXIS

241125, at *10-11 (W.D.N.Y. Dec. 18, 2020) (parent lacked standing to sue when she

“allege[d] only that she paid the tuition and fees so that her child could enroll as an

undergraduate student.”); Metzner v. Quinnipiac Univ., No. 3:20-cv-00784, 2021 U.S. Dist.

LEXIS 56744, *16-17 (D. Conn. Mar. 25, 2021); see also, Gociman v. Loyola Univ. of Chi.,

No. 20 C 3116, 2021 U.S. Dist. LEXIS 13238 at *5 (N.D. Ill. Jan. 25, 2021) (dismissing

parents’ claim on standing grounds because they did not show an injury-in-fact when

parents “allege[d] only that they paid the tuition and fees so their children could enroll as

undergraduate students.”); Salerno v. Fla. S. Coll., No. 8:20-cv-1494, 2020 U.S. Dist.

LEXIS 215349, at *10-11 (M.D.Fla. Sept. 16, 2020) (sam e); Lindner v. Occidental Coll., No.

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CV 20-8481, 2020 U.S. Dist. LEXIS 235399 at *15 (C.D. Ca. Dec. 11, 2020) (dismissing

parent’s claims for lack of standing because “[the adult child], not [the parent], was the

intended beneficiary of any promises that Occidental allegedly made and [the child], not

[the parent], suffered any alleged injury that resulted from the transition to remote

instruction . . . [the parent’s] claims are derivative of [the child’s] claims.”).

       The Court concludes that, regardless of the claim that Plaintiffs raise in this lawsuit,

they have not alleged any injury that is concrete and particular to them. Their alleged

injuries are all derivative of those allegedly suffered by their daughter. The Court has

explained why Plaintiffs have not alleged a concrete and particularized injury in their

contract claim. The same analysis applies to the unjust enrichment claim, where Plaintiffs

claim an injury because the University retained tuition and fees provided for the purpose of

in-person instruction when Syracuse did not provide such instruction to their daughter. See

Complt. at ¶¶ 80, 83-84. The conversion claim likewise alleges an injury because

Defendant retained funds provided for the purpose of in-person instruction and then failed

to provide this service. Id. at ¶ 87. Plaintiffs’ “money had and received” claim alleges

damage because “Defendant has been unjustly enriched by its retention of the funds

Plaintiffs and the members of the Class paid Defendant for tuition and fees” and did not

receive in-person education. Id. at ¶¶ 98, 100. Plaintif fs’ New York General Business Law

claim alleges that Defendant advertised in-person instruction, obtained tuition dollars, and

then did not deliver that instruction as promised. Id. at ¶¶ 111-113. As a result, Plaintif fs

claim “Plaintiff[s] and other members of the other Class Members [sic] were deceived and

injured because students did not receive in-class instruction and a unique campus

experience for the entire Spring 2020 semester.” Id. at ¶ 118. All of these injures are not

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injures to the Plaintiffs, but to students at the University. Plaintiffs’ injuries are not concrete

and particularized to them, but to their daughter. Under those circumstances, Plaintiffs’

lack standing to sue.

       The Court will not address the substantive claims Plaintiffs raise. To offer any

opinion on their viability under circumstances where Plaintiffs lack standing to sue would be

to offer an advisory opinion, which Courts are not permitted to offer. See, e.g., Jennifer

Matthew Nursing & Rehab. Ctr. v. United States HHS, 607 F.3d 951, 957 (2d Cir. 2010)

(“[A] federal court lacks the power to render advisory opinions.’”)(quoting U.S. Nat’l Bank of

Or. v. Indep. Ins. Agents of Am. 508 U.S. 439, 446 (1993)); United States Capital Corp v.

Lorraine St. Assocs. (In re 183 Lorraine St. Assocs., 1996 U.S. App. LEX IS 12335 at *2 (2d

Cir. May 29, 1996) (“If a party has no legally cognizable injury, the federal court lacks

jurisdiction, for its ruling would be an advisory opinion in violation of Article III of the

Constitution.”). Such a decision must await a claim by a plaintiff who has standing to sue.

IV.    CONCLUSION

       For the reasons stated above, the Defendant’s motion to dismiss, dkt. # 30, is

hereby GRANTED. The Clerk of Court is directed to CLOSE the case.



IT IS SO ORDERED

Dated: April 13, 2021




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